      Case 2:06-cr-00058-FVS    ECF No. 60   filed 11/14/06   PageID.438 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-06-058-FVS
 6
                      Plaintiff,

 7
                                                        ORDER
                 v.
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 9
     FREDERIC A. YURISICH and VERA M.
     YURISICH,
10
                      Defendants.
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          THIS MATTER having come before the Court for a pretrial
13   conference; Now, therefore
14        IT IS HEREBY ORDERED:
          1. Mr. Yurisiches' motion for reconsideration (Ct. Rec. 55) is
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     denied as moot.
16        2. The Yurisiches' oral motion for a continuance of trial is
17   denied.
          3. By 4:00 p.m. on November 20, 2006, the parties shall file
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     motions in limine, if any.
19        3. By 4:00 p.m. on November 27, 2006, the parties shall file
20   proposed voir dire, proposed jury instructions, and lists of expected
     witnesses, together with each witness' community of residence.
21
          IT IS SO ORDERED. The District Court Executive is hereby
22   directed to enter this order and furnish copies to counsel.
23        DATED this   14th     day of November, 2006.

24
                                   s/ Fred Van Sickle
25                                    Fred Van Sickle
                               United States District Judge
26



     ORDER - 1
